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AO 245 S (Rev. 4/90)(N.D.Ala. rev.) Sheet l - Judgment in a Criminal Case

UNITED STATES DISTRICT COURBEDB § ”~Di'
Western District of Tennessee

  

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Plaintiff, oLEF”-`T;`Z-r_".§~:jl' 5"_'*',2¢'
~M_\;, or ~i g ~ ~
VS. Case Number 2:9BCR20053-01-Ml

ADRIAN BROOM
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Adrian Broom, Was represented by Marvin Ballin, Esq.

The defendant, having been convicted of violation of 21 U.S.C. 84l(a)(l), Possession
with Intent to Distribute Marijuana on October 30, 1998, was sentenced to a term of
sixty-three (63) months in the Bureau of Prisons and a term of three (3) years on
Supervise Release in the above styled cause, has violated the terms of Supervised
Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of fifteen (15) months to be served consecutively
with indictment 2:04CR20167-01.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release.

The defendant is remanded to the custody of the United States Marshal.

Signed this the {Q day of Mayr 2005.

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PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 
 
 

   

 

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Defendant's SS No.: 413~35-0400

Defendant's Date of Birth: 07/19/1978

U.S. Marshal No.: 16323-076

Defendant's Mailinq Address: 3721 White Birch Drive, Memphis, TN 38115

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UNITED S…ATEISTIC COURT - W"'RNTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:98-CR-20053 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

